Case 1:24-cv-00046-TC-DAO Document 8-1 Filed 06/03/24 PagelD.551 Page 1of3

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
APPLICATION FOR PRO HAC VICE ADMISSION

CONTACT INFORMATION

Local Counsel: _J. Mark Gibb (5702)
Firm: Dentons Durham Jones Pinegar, PC
Address: 111 South Main Street

Suite 2400

Salt Lake City, Utah 84111
Telephone: (801) 415-3000
Email: _mark.gibb@dentons. com

Pro Hac Vice Applicant: _Rebecca Hughes Parker

Firm: _Dentons US LLP
Address: 1221 Avenue of the Americas
_New York, NY 10020-1089 ari
Telephone: (212) 768-6700
Email. rebeccahughes.parker@dentons.com
An applicant who intend to become a [1 Admission by Bar Examination
member of the Utah State Bar, please C0 Admission by UBE Transfer
identify the type of admission you seek: 1 Motion/Reciprocal

$s AND FED L BAR BERSHIP:

Jurisdiction Bar Number Date of Admission
_ New York State 4321287 05/03/05

U.S.D.C.. Eastern District of New York 06/21/05

U.S.D.C., Southern District of New York | 06/21/05
|

Have you ever been the subject of disciplinary action C1 Yes & No

by any bar or court to which you have been admitted?
1
Case 1:24-cv-00046-TC-DAO Document 8-1 Filed 06/03/24 PagelD.552 Page 2 of 3

if yes, please explain:

T PRO HA ADMISSIO THE DISTRICT OF UTA
IN THE PREVIOUS 5 YEARS
Case Name Case Number Date of Admission

If you have been admitted pro hac vice in 3 unrelated cases in this district in the previous 5
years, please explain your reason(s) for not seeking admission to the Utah State Bar:

|

a!

| certify that | am a member in good standing

of all bars and courts to which | lave been admitted.
| certify that | have read and will comply with

the Utah Rules of Professional Conduct and

the Utah Standards of Professionalism and

Civility.

| certify that | am not a member of the Utah State
Bar.

‘| certify that I have listed all cases in which | have
"been admitted pro hac vice this district in the
_previous 5 years.

| certify that | do not maintain a law office in Utah.

| certify that the foregoing is true and correct
and is subject to the penalty of perjury.

& Yes

& Yes

Yes

&% Yes

&) Yes

& Yes

[1] No

1 No

O No

02 No

OD No

CO) No

Under DUCivR 83-1.1(d)(2) you must register to efile to receive electronic notification of case
activity. Please visit the court's Attorney Admissions webpage for instructions.

2
Case 1:24-cv-00046-TC-DAO Document 8-1 Filed 06/03/24 PagelD.553 Page 3 of 3

Pian Wp far\on _ 6/3/24

Signature U D
